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                         UNITED STATES BANKRUPTCY COURT

                                            FOR THE

                            EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

     In the Matter of:
                                                   Chapter 13
     MICHELLE NAOMI CAMPBELL-THOMAS
                                                   Case No. 07-11516-RGM

                           Debtor

                              NOTICE OF STATUS HEARING

            PLEASE TAKE NOTICE that the undersigned Chapter 13 Trustee will
     conduct a hearing on the Modified Chapter 13 Plan filed on August 27, 2007, and
     requires the attendance of Debtor and Debtor’s counsel at the following time and place.

            Date: September 18, 2007

            Time: 2:30 PM

            Place: 115 South Union Street, Suite 206
                   Alexandria, VA 22314

     _September 11, 2007 _______                          _/s/ Gerald M. O’Donnell___
     Dated                                                Gerald M. O’Donnell

                                  CERTIFICATE OF SERVICE

     I hereby certify that I have this 11th day of September, 2007 mailed a true copy of the
     foregoing Notice of Status Hearing to the following parties.

     Michelle Naomi Campbell-Thomas               Nathan Fisher, Esq.
     Chapter 13 Debtor                            Attorney for Debtor
     43118 Rocky Ridge Ct.                        3977 Chain Bridge Rd., #2
     Leesburg, VA 20176                           Fairfax, VA 22030

                                                          ___/s/ Gerald M. O’Donnell____
                                                          Gerald M. O’Donnell
